

ORDER

PER CURIAM.
AND NOW, this 23rd day of January, 2002, there having been filed with this Court by Michael R. Lynn his verified Statement of Resignation dated December 14, 2001, stating that he desires to resign from the Bar of the Commonwealth of *589Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Michael R. Lynn be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is farther ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
